
*294OPINION.
McMahon:
The sole question in this proceeding is one of fact as to the value, for estate-tax purposes, of the 32½ per cent interest held by the decedent at the time of his death, May 14, 1924, in the partnerships of Pitts &amp; Morris and Pitts &amp; Morris Co.
In the estate-tax return this interest was included at a value of $51,585.13, which was the figure at which the interest of the decedent was carried on the books of the partnerships. The petitioner now contends that the fair value of the estate at the time of the death of decedent was not greater than $38,157.76. Petitioner contends that certain machinery and equipment which was included in the inventory of the estate at the book value of $73,858.97, was, in fact, worth not more than $32,500.
After a careful consideration of all the evidence presented to us we concluded and found, as a fact, that the value of the machinery and equipment at the time of the death of the decedent was not greater than $32,500, and that the value at that time of the 32½ per cent interest in the partnerships was not greater than $38,157.76. Upon the redetermination the interest of the decedent in the two partnerships will, therefore, be included at a value of $38,157.76.

Judgment will be entered under Rule 50.

